              CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 1 of 17
                                                                                     RECEIVHM
                                                                                           BY MAIL
                                                                                          APR     10   2013


                      UN|TED STATES DTSTRICT           CdtRfr                            u.s. DlsrRlcr couRr
                                     DISTRICT OF MINNESOTA                                ST. PAUL' MN


                              PETITION FOR WRIT OF HABEAS CORPUS
                                  PERSONS IN FEDERAL GUSTODY
                                UNDER TITLE 2S USG SEGTION 2241


 Emmanuel Sanchez

 7   84s6-27   9

    Full Name and prisoner number of Petitioner                             civil   No   lTt^l     frn         fwTilJq
vs.


 United States of America
 Narne of Respondant




                                 INSTRUCTIONS - READ CAREFULLY


         In order for this petilion to receive consideration by the U. S. District Court, it shall be in
wriling (legibly handwriften or typewritten), signed by the petitioner and verified (notarized), and it
shall set forth in concise form the ans^rers to eatfi question. (lf a particular question is not
applicable, hat should be specifically noted.) lf necessary, petitioner may finish the answer to a
particular question on an addifonal blank page. Petilioner shall make it clear to which question any
such continued anstver refers.

        Since a,ery petition for habeas corpus must be swom to under oath, the false statement of
a material fact therein may serve as he basis of prosecution and conviction for perjury. Pelitioners
should therefore exercise care to assure that all ansl/ers are true and conect.

         lf ttre petilion is submitted in forma pauperis, it shall include the Application To Proceed In
Forma Pauperis (AO 240-MN). Pelilioner should be mindful of the changes in IFP procedures
effected by the "Prison Liligation Reform Act'.

      When the petilion is completed, the orioinal and one mpy together with a JS44 Civil Coner Sheet
must be mailed to: Office of ttre Clerk, United Strates District Court, 700 Federal Building, 316 North
Robert Street, St. Paul, MN 55101. The petition must be accompanied by either (a) the full filing fee
of $5.00, make check payable to U.S. District Gourt or (b) a properly completed IFP application (with
the initial partialfiling fee, if required by 28 U.S.C. Section 191s(bxl).)



                                                                                           SOANNED
                                                                                                  lPR112013         5b
                                                                                                                     PAUL
                                                                                          fi,J,$. DISTRIGT COURT ST.
          CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 2 of 17




1.   Place of
     detention:          Federal'Prison          Camp   - Duluth, Minnesota
     Name and location of court which imposed
     sentence                                               Northern District            of Georgiq,
                                                            Atlanta Division
3.   The indictment number or numbers (if known) upon which and the offense or offenses
     forwhich sentence was imposed:
              (a)   I : 08-CR-356-27            -WsD
              (b)   1    :08-CR-235
              (c)

4.   The date upon which sentence was imposed and the terms of the sentence:.

              (a) L2-I6-20L1, t9 a term of 97 nonths with five years of
              (b) supervised release
              (c)

5.   Check whether a finding of guilty was made

              (a)   After a plea of guilty

              (b)   After a plea of hot guilty              X

              (c)   After a plea of nolo contendere

6.   lf you were found guilty after a plea of not guilty, check whether that finding was made
     br
              (a)   A jury

              (b)   A judge without a    jury

7.   Did you appeal the judgment of conviction or
     the imposition of sentence?                            Yes

     lf you answered "yes" to ltem 7,   list
              (a)   The name of each court to which you appealed

                    i. Eleventh Circuit Court of Appeals
                    il

                    llt.

             (b)    The result in each such court to which appealed

                    i.     Af f irmed     Di-strict Court I s declsion
                    ii.

                    lll.
          CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 3 of 17




               (c)       The date of each such result

                         i- March 1,          20Lz
                         ll.

                         lll,
                         oaa




               (d)       lf known, citations of any written opinions or orders entered pursuant to such
                     '   results.

                         i-      1   :08-CR-00356-I,{SD-EC S-27
                         aa


                         ll.
                         aaa


                         lll.

9.     State concisely the grounds on which you base your allegation that you are being held in custody
       unlaMully. Each ground for relief should be descrlbed sepamtely, and each ground should include
       (1) a concise statement of the relevantfacts and (2) a brief description of the legal principle(s) on
       which it is based.

       Groundl                Erroneously enhanced within offense level and sentence
       guideline due to "abuse of position of trustrr, which did not apply

      Ground2 Never considered for minor role pl-ayer; this, despite others
      within same alleged conspiracy recelving Less severe sentences, and
      Petitionerrs roLe being no greater than these minor players.
       Ground3 Substantiil asslstance                        and downward departure factors were
      never applied toward overaLL sentence, per TitJ-e 18' 3553(e) - within
      and without the scope of 5II1.1 - family responsibiLities and comunity
       ties.
Additional grounds may be set forth on an attached page.

       Please see attached                memorandum
10'    Have you filed previous petitions for habeas corpus, motions under Section 2255 of Titte 28, Unlted
       States Code, or other appllcalions, Petitions or motions with respect to thls conviclion? Please
       list below.

        This'option was waived as part of the pLea agreement.




1.1.   lf you answered 'yes" to ltem 10, tist with respect to each petition, mgtion or application
            CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 4 of 17




             (a)      The specific nature thereof:
                      i.                NA
                            '
                      ii.
                      llt.
             (b)      The name and location of the court in which each was filed.
                      i.                NA
                      ii.
                      lll.
                      aaa




             (c)      The disposition thereof:
                      i.                NA
                      ll.
                      lll.
             (d)      The date of eich such disposition:
                      i.              NA
                      il-
                      lll.
             (e)      lf known, the cltations of any written oplnions or orders entered pursuant to each such
                      disposition,
                       i.               NA
                      ll,
                      Iil.
12.      lf you did not file a motion under Section 2zss ottitleza, United States Code, or if you filed such a
         motion and it was denied, then for each ground raised here, state why your remedy by yvay of such
         motion is inadequate or ineffective to test the legalig of your detention:
         Ground   1             Pl-ease see attached memorandum


         Ground 2




         Ground 3




Additionatgrounds may be setforth on an attached page.

1   3.   Has any ground set forth in ltem 9 (above) been previously presented to this or any other federal
         court by way of petition for habeas corpus, motion under Sectlon 2255 of Tille 28, United States
         Code, or any olher petition. motion or application?
          None
           CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 5 of 17




14.   lf you gnswered "yes" to ltem 13, identiff all of the proceedings in which each such ground was
      raised.
      Ground    1             NA
      Giound 2
      Ground 3


lf there are additional grounds, attach a separate page.


15.   Have any of ihe grounds for relief presented in this petitlqn been raised in any prison grievance.
      proceduie oradministrative remedies procedure?
                                                           ' ElYes            El tto
                                                                                     '
16,   lf you answered "yes" to ltem 15, then for each ground.that has been raised describe (1 ) each step
      that was taken to resolve the claim through a grievance procedure or administrative remedies
      prbcedure and (2) the dispositlon of the claim at each siep.

      Ground    1                  NA


      Ground 2



      Ground 3




(Copies of any written materials pertaining to grievance procedures or admlnistrative remedles
procedures - including statements of the claim(s) presented and responses received - should be attached
to this petition.)

17.   Are there any administrative remedies available for any of your grounds for relief that have not been
      exhausted? No

      Most'every administrative remedy tineline has since expired. Apart
      from thisr the option of $2255 was never exercised due to waiving
      the rights during plea agreement for that measure.
                       nyes"
18.   lf you answered        for ltem 17, then for each such unexhausted ground for relief, explain why
      the available adrninistnative remedies were not fully exhausted.

      NA




19.   lf you were represented by an attorney during any of the following procedures, lhen state the name
      and address ofsuch attorney(s):

                (a)   Your appearance before a United States Magistrate Judge?

                        Name ' steven P. Berne
                       Address 1349 W. Peachtree - Suite 1250 Atlanta,                               GA 30309-2920
                (b)   Your arraignment and plea?

                         Name           Same

                       Address
           CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 6 of 17




                 (c)      Your trial, if any?

                                 Name            NA
                              Address
                 (d)      Your sentencing?

                                 Name Steven P.         Berne
                              Address. 1349 W. Peachtree - Sulte 1250 Atlanta,                         GA 30309-2920
                 (e)      Your appeat, if any, from the judgment of conviction or the imposition of sentence?

                                 Name            Same
                              Address
                 (f)      Preparation_,.presentatlon or consideration of any petitlons, motions orapplications
                          with respect to this conviction, which you filed?
                 .                                                        .

                                 Name            NA
                              Address
20'     I you are seeking leave to proceed in forma oauoeris , have you compteted the sworn affidavit
       setting forth the required Informatlon? (see instructions, page 1 of this form)

      Please        find        attached




                                                             being first sworn under oath, presents that he/she
            (   Sig natu re   of petition e r)
has subscribed to the foregoing petition and does state that the information therein is true and correct to
the best of his/her knowledge and belief.




            (Signature of Affiant)



SUBSCRIBED AND SWORN to before me this                                    day of




Notary Public

My commission expires
           CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 7 of 17




                                    NOTARIZATION IS NOT NECESSARY IF THE
                                     FOLLOWING STATEMENT IS COMPLETED




                     I   declare under penalty of perjury that the foregoing is true and conect.


                                                            Executed on                z/* 5          -7o,r 3
                                                                                        (Date)

                                                                                    _{,
                                                                                        (Signature)




(Habeas-2241 .wpd)
                                                                                                         (e/0t )
             CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 8 of 17

                                                                                       RECHIVED
                                           IINITED STATES DISTRICT COURT                     BY MAI L
                                             DISTRICT OF I{INNESOTA
                                              EIGHTH CIRCUIT                                 APR   L0 2013

F'-rrrmanUgl SanChg,Z
                                                                               CLERK, U.S. DISTRICT COUHT
                        t                                )
                                                         )                            ST. PAUL, MN
            Petitioner,                                  )
                                                         )
V.                                                       )                     Case:
                                                         )
United States of Americs,                                )
                                                         )
            Respondent.                                  )


                                PETITION FOR IIRIT OF HABEAS          CORPUS
                                     PERSONS   IN   FEDERAT CUSTODY
                                 III{DER   TITLE 28 USC SECTION 224L


COMES NOI{   Petitioner,        Emmanuel Sanchez, Federal           Registration Number 78456-279,
pro se litigant and proceeding in forma pauperis. He is currently in custody
with the Federal            Bureau   of Prisons, at the Federal Prison         Camp    in Duluth,
Minnesota. Petitioner makes              this notion pursuant to Title         28   u.s.c.   s224T.

        Petitioner was sentenced at the United States District Court, Northern
District of Georgia, Atlanta Division,                   on December 16,2011,       to a term of
97 months. Petltioner r{as lndicted on three counts                    of Criminal- Indictment        No.

1:08-CR-235. The counts consisted                 of violations of Title 21,        Uni-ted States Code,

Section 846, 84I(a)(1) and 841(b)(1)(A)(ii) and (vti). This charged that
Petitloner conspired to knowingly and intentlonally distribute a controlled
substance, said conspiracy involving                    at least   11000 kilograms   of   marijuana.

Count Two alleged            that beginning on a date unknom to the            Grand    Jury, but at
least by in or about June 2006,               and   until on or about the date of this
indictment of September 2, 2008, Petitioner and others conspired to knowingly                               and

intentionally conmit money laundering, in violation of Title 18, United                            States

Code, Section 1956(h). Count               five    charged   that on or about January 6'       2OO7,

Petitioner and other            named defendants,        aided and abetted by each other, did
knowl-ngly   transport, transmit and transfer funds                  and monetary instruments.


                                                  -1-
           CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 9 of 17


This offense.was in violation of Title 18, United States Code, Section
1956(a)(2)(A) and Section 2. On Novembet 4,2008, the lndlctment nas superseded
without any charges related to Petitioner.
       On August     3, 20LL, Petltioner entered a negotiated plea of guilty to
Count One of the Supersedlng Indlctment. R788.

       On December       16, ?OLI, Pet{tloner was sentenced to ninety-seven            months

lmprisonnent, followed by five years of supervised release. R844.
       On March     l,   2OL2,   Petitioner fl-led a timely Notlce of Appeal. The
Eleventh   Clrcuit Court of           Appeals   afftrned the Dlstrict Courtrs decLslon.
Petitioner is presently lncarcerated.

                                        STATH-IHIT OF FACTS

       Petltloner was a former police officer with the La Joya Pollce
Department, a      forner flre fighter wlth the llidalgo Flre Department, a small
busl-ness olrner, and         a father raising hls children l-n a rural area of southern
Texas. IIe     ls a United States citizen.
       On January        6,   2OO7,   after surveil-ling hin for a number of     hours,
Petltioner was pulLed over ln a Ford F-350 plckup truck by Georgla State
Trooper Mark     Mltchell.       (SentencLng Transcript       p. 8, herelnafter referred to
as   Tr. 8).   Government agents observed another defendant, whom they had

heard references         to   on wlretaps, loadlng currency       into a truck previously.
Trooper Mitchell,requested Petitionerfs cooperation                 in   steppLng away from the

vehicle to record the interactlon. (Tr. 9) Trooper Mltchel-l- informed
Petitioner of this recording beforehand. Ilpon produclng his driverts license,
Petltioner offered his polLce             badge as   well, seelng how the license     photo

depicts Petitioner ln sherlffIs deputy unlform.r Trooper Ml-tcheLL                 asked




                                            -2-
         CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 10 of 17


Petitioner whether he was an active sheriffrs deputy, and Petitioner                    responded

and confirned       this fact. (Tr.14).
         Wtren   Petitd.onerts vehicle was later searched, approxLnately $950,455
in United States currency         was found, along     with a sheriffrs deputy vest.
It   was never made      clear as for Just where the duty Sest was l-ocated.            Since

the onset of the indlctment, Petitioner has maintairred that the duty vest
was located behind the back seats            of the vehicle,     and was   not in plain sight.
          Petitioner \ras charged with Count         One along   ririth 35 other defendants.
Of those convlcted, several had their sent,ences adjusted for pI-aying what                     was

considered a minor rol-e. Anong those are two defendants from whon $l-3,6941995
was seized, one from whom 500 pounds            of   marlJuana was seized, one from         whom

70 kiI-ograms      of   cocaine was seized and who admitted        to acting as a courler
on another       trip also,   one from whom $559,140 was seized, one who transported

and was     rrith drug-related money on two or three occasions, orre who built
cabinets on a truck from which 2r3I9 kil-ograms of marijuana was selzed,                     one

who was found       ln a stash house with      11360 kilograms     of marijuana,   and one

r^rho   was a runner    of an unspeclfled     amount   for an unspecifled     number   of
trips.    Among    those defendants who did not receive minor-role reductions               was

one who transported drug proceeds            for multiple organlzatlons       and had charges
pending     in another Jurisdiction as wel-l,         and another who transported cocaine,

had previously transported marijuana, and was sentenced                to   250 months.


                                 STAT{DARD   OF RHYIEIil

          (1)    Wtrether   the trial and Appel-l-ate l-evel court erred in increasing
                 Petitionerrs sentence based on the         abuse   of a position of trust
                  characteristic ln the Federal Sentencing Guidel-ines is subJect to
                 plain error review in reference to fact finding' but its
                  determination whether the facts justify an abuse-of-trust
                  enhancement   is l-eft to guestion.

                                       -3-
        CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 11 of 17


        (2)      trlhether the trial     court with Appellate-level revierrr erred in
                 ref using to decrease Peti,tloner t s sentence based on the playing

                 and character ization of ttminor rolbtt in the Federal Sentenci-ng

                 Guidelines is subj ect to plain error and reverslble error
                 review.


                              SII}IMARY OF ARG[IUEI{T.

        The   trial    and Appel-late    court erred by increaslng petLtionerrs
sentence based on the abuse            of a position of trust characterlstic in    the
Federal Sentencing Guidelines. The fact that P6tltioner was required to
provide his driverrs license when Trooper Mitchel-l- requested it is no such
abuse   of trust. Petitioner did not state, nor did he foresee that there would
be relevance      to tie in that       he was   a law enforcement officer until he was
questioned by Trooper        Mitchell. IIe answered this truthfully      and upon handing
Trooper   Mitchell hls driverrs license, did not have any reason to rrLthhold
the fact that he was an active sherlffrs deputy. PetitLoner was out of state,
and   not on-duty during thls traffl-c stop. Petitioner did not use his position
as a police officer to conduct any investigation or business when outside his

Jurisdiction' thus dld not bel-ieve it was pertinent to disclose this fact at
the start of this traffic stop. Here, the photograph on Petitionerrs driverfs
license' of him wearlng his sheriffrs deptrty uniforn did not significantl-y
facilitate the        conceal-ment   of the offenses within the indictment.
        The   trial    and Appellate l-evel courts erred by      refusing to decrease the
sentence based on the minor            role characteristic in the   Federal- Sentenclng

Guidellnes. The fact that Petitioner lras a currency courier does not precl-ude
him from receiving a minor-role reduction, as other minot-role players as
co-defendants would see        withln their sentencing. Petitioner at no point        had

inspected' handl-ed, transported, sol-d or purchased drugs. Petltioner was                a

mere   driver,   and was    similarl-y situated to other defendants      who received mtnor


                                         -4-
         CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 12 of 17


rol-e reduction during sentencing             of this very crininal case.        From   the first,
Petitioner was never with the advantage of weighing these other sentences                        as

comparison,      within and,without an advisory scope. Petitionerrs                counsel- never

exercised      his right to Rule 35(a) in         recognlzJrng    the sentencing error. At
the point of dlscovering these errors, the window in addressing Rule g5(a)
had since expired.


                     ARGITIIENTS AND GITATIONS OF AII1UORIIY

I.    lUE 13IAL AND APPETJ,ATE LSUH. COURT EBREI) Iil INCREASING lTE SEN1TNCB OF
      PEIITTONM. ON lEE ABUSE OF A POSITIOil OF 1BUST CUARASIB,ISTTC OF lUE
      FBDRAL SENIUTCING GTIIDELINES.

         The   trial-   and Appel-lat.e eourt erred      in increasing the Sentence of
Petltioner by 2 points based on the              abuse   of position of trust characteristic.
The Federal Sentencing Guidellnes              state that, trial     Judge nay increase the
sentence     rrif the defendant abused a position of public or private trust, or
used    a speclal skill, ln a manner that signiflcantly facil-itated the
corrmission     or   concealment    of the offense.tt     USSG   S 3B1.3.    Petitioner has the
burden    of establishing both that (1) Petitioner               hel-d   a place of private or
public trust, and (2) that Petitloner               abused the    posltion in a way that
significantly facilitated the comission or                 concealment      of that offense.
United States v. Ward, 222 E.3d 909, 911 (llth Cir. 2000).
         Petitioner      concedes   that part    one   of thiS test, that as a Sheriffrs
deputy he hel-d a position          of publ-ic trust. Ilowever, this        would not apply

at the point      and location      of his traffl-c stop with       Trooper Mitchell.

Petitioner was actually off-duty, out of his jurisdlctlon, and did not
seek    preferential treatment from a fellow             peace   officer. Still, Petitioner
must prove      part two of the test.         The Courtrs   sister circuit      had cautioned

trial    Judges against placing        too little      weight on part two of this test,
and thus allowing too broad           of an interpretation of this           sentence

enhancement. Unlted States          v. Moored,997 F.zd 139,145 (5th Cir.                1993).

The     Sixth Circuit stated that, if part two of the test carries I-ittLe

                                        -5-
          CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 13 of 17


weight, then the sentence           enhancement wil-l- be used against         virtually     every

defendant who holds a position            of trust, an argument can always           be made that

the position had some remote connectlon to the crime. Petitl-oner was stopped
in another state,      and   this   was   not a portion, nor asPect of the crime to
begin. There was no connection tied between the traffie stop and the offenses
knorsn   to that point; that,        and the   fact of Petitioner being an active sheriffrs
deputy would never come into play r or             so   not as far as the traffic       stop       and

the offenses alleged within the original and superseding indictment                         were

concerned.

A.   ilO PRq)F ETTSTS 1UAT PETITIOIIER            HAD AFTTXUATIVH,Y ACITD TO OONCEAL
     lUE OETENSE.
     There    is no proof that Petitioner acted afflrnatively in using his
position as a sheriffrs deputy to facilitate the                    conceal-ment   of the   United

States currency in the truck from Trooper Mitchel-I-. During their interaction,
the Petitioner merely did what he was legall-y obligated to do by providing
Trooper   Mitchell with his driverrs l-icense.
     The government had provided no evidence                  of   when   Petitioner had his
driverrs license photo taken,           and whether      it   was taken     after he became invol-ved
in the drug scheme. Petitioner did not automatically inform Trooper Mitchell
that he was a law enforcement officer, he merely                    responded when   ultimately
questioned. Thus, Petitionerts l-ack of affirmative action proves that his
conduct, in admitted or withheld fact, was not intentional, and thus not
evidence    to suffice that     he was attempting         to use his position to        conceal- the

crime. Petitioner didnrt find that being out of state, off-duty, and outside
his jurisdictlon, the mention of his being an active sheriffrs deputy from
outside the state had any place in initiating conversation during the traffic
stop. Petitioner sought no benefits and expected no concessions ln what                            was

later    made knor,m   of his being an actlve sherlffrs deputy elsewhere.


                                            -6-
         CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 14 of 17


B.     NO PROOF EXISTS 1TAT PETITI(XER ABIISM EIS POSITION IN SUCE A WAY
       AS TO SIGilIEICANII,]T FACILITATE lUE OOilCEAIilENT OF lHE OFFHTSE.

       Petitionerrs unintentlonal act of having previousl-y decided to                     wear

his sherifffs deputy uniform in his driverrs llcense photo did not
significantly facil-itate the concealnent of the United States currency in
the vehicle. Petitioner did not use his position as a                    pol-J-ce   officer to
fol-low up on the status        of the investlgation against hln, or to participate
in iLl-icit acts, applying law        enforcement technlques         that could be used to
pursue or    lnquire on the indictnent intended for him. During the tine
period in question, Petitioner was neither wearing                 his sheriffrs        deputy

uniforn, nor driving his         marked   police vehicle, nor listening to area police
scanners    or radio. Therefore, his unintentional actions                 do not     rise to     the
same   l-evel as the types of actions that courts have previously found to be
intended to significantly facLlitate the concealnent of an offense.
       In this instance, Petitioner did not invite other pol-ice to join                     hJ-m

in the criue. IIe did not attempt to            use   his   knowl-edge   of narcotics investlgation
to plan a ttperfect crimerr. Finally, Petitioner did not                  use   his position       as

a pol-l-ce officer to follow up on the investigation into him or the other
defendants. Therefore,         his unintentional action of handing over the required
driverfs license     upon request     did not significantl-y facilitate the concealnent
of the offense.
       Petitioner   rrras   not wearing his police uniform at the ti-me, nor              riras

there cause to have this with hin. IIe was not using his marked or                       unmarked

police vehicle. Petitioner also rras not acting as a lookout through the                            use

of police    scarlners   or radio. He merel-y had prevlously decided to be photographed
for his driverrs license in uniform, an act that did not signJ-ficantly
facll,itate the     concealment    of the offense in the         same    nanner as one would
that actually had somethlng to shiel-d or withhold fron fellow peace officers.
       Since the government had provLded no evidence               to prove that Petltionerrs
action in being photographed for his drlverrs license while in uniform was

                                          -7-
              CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 15 of 17


intentionally           designed   to assist him in   conceal-lng    this    crl-me, and his
obligatory production of his l-icense to Trooper Mitchel-l does not rlse to
the level- of abusive behavior on any scope lntended to facil-ltate the
concealment          of an offense that this Court requires, the trial-               and appe11-ate
courts erred ln increasl-ng Petitionerrs sentence.

II.          lUE 1TIAL   AND APPH.LI\IT COIIRT ERRH) IN REFTTSIITG TO DECREASE TEE
             SENTHTCE OF   PETITIONB. BASEII Oil lUE ITTNOR ROLE CHARASMRISTIC OF
             lTB   FEDERAL SENTUTCING GUIDELIITES.

             Ihe trial and appellate courts erred ln refusing to decrease the
sentence          of Petitioner by two polnts despite the fact that he played a minor
role in this drug conspiracy.                The Federal Sentencing Guidelines          states that
the sentence can be reduced by two points (at mininum) if the defendant                              v/as a

"minor participant in any criminal activity."                 USSG   S 38L.2. Petitioner is
considered a minor          partlcipant, rrif he is less        cul-pabl-e than most other

participants, but his rol-e could not be described as mininal.rr                       USSG   S 3B1.2

conment. This determination             is    dependent on   the facts of a particular case,
and     is    based on a   totality of the circumstances.           USSG   S 381.2.

             There are two factors the Court must consider:               (1) a conparison of the
defendantrs          role in the offense with the relevant conduct attributed to                     him

in the calculating the             base offense l-evel-, and    (2) a conparlson of the
defendantrs conduct           to the conduct of other participants. United               States V.

Butler,        416 Fed Appx. 856, 860         (llth Cir. 2011). This was clearly          never

put in play when putting forth Petitioner I s sentence.
             A.    PE]IITIOI{ER PI,AYED ONLY A }IINOR ROLE    Iil   lUE   OSFMTSE   AS A OOI'RIER.

             Wtren   the defendant acts as a drug courier, the district court                 must

still        assess the defendantfs      role in l-ight of the relevant conduct attributed
to her. United States v.             De Varon, 175 F.3d 930, 943          (lLth Cir. 1999). The
mere     fact that a defendant acted as a courier is not dispositive of                       whether

the defendant          will receive an adjustment to her offense or sentence. Id. In
the De Varon case,           the defendant acted as a courier snuggl-lng heroin from

                                               -8-
              CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 16 of 17


Colombia. Id. She helped to finance the operation,                and    the only other
participant was a messenger. Id. This Court held that, in light of the
entirety of her ro1e, the fact that             she was   the operationf s couri-er        $ras not

dispositive of the fact that she should receive a lesser sentence. Id.
         In this instance, Petitioner       riras    a mere courier with none of the added
aggravating factors from the De Varon case. IIe transported strictl-y money,
not drugs, and did not travel across an lnternational border. IIe did not                         he1-p

to finance the operation,         and there rsere other participants who planned the
operation rather than acting as mere messengers. Petitioner pI-ayed nothing
more than a minor         role. fhis   was never factored       in his   sentencing.
         In the present case, Petitioner            was found   with   $950 1435.00   in   United
States currency. This was part of an operation worth at least $22 nil-l-ion.
Thus, Petltioner was transporting no more than approxirnately 4 percent                        of   the
operationrs total finances.

         B.     PETTTIoilERIS AcfioNs IIIERE SIIIII,AR    IO luosE If,voLvED IN luE
                OtrtrENSE TIHO RECEIVED SENTHTGB BEDUCrIONS FOR          lUB UIilOR   BOLES
                IUET PI"ATH).

         In this instance, there were 35 other defendants. Petitloner did not
purchase       tools to   conceal- drugs, hide      the drugs, etc. Ee was merely a           smal-l-

cog   withln a large wheel, not four percent of an operation                 knor.m   to   generate

no less than $22 nillion. Defendants even within this case who received
ml-nor   role considerations      and reductions rilere substantlal-1-y       similar to
Petitioner. There were two co-defendants from whom approximateLy                      $1310001000

was seized, over 13 tlmes as much currency as was found                   in the truck with
Petitioner. There lvas one from whom 70 kilograms of cocaine was seized, while
Petitioner was charged with possession of at least 5. There rilas a co-defendant
who made no       less than three trips, and another        who   built cabinets       conceal-ing

drugs, neither of which Petitioner was convicted of. Petitionerrs charge fits
hln lnto the category of minor role player. The record                   and sentences of
fellow defendants is further evidence of this claim. It was certainly an over-

                                          -9-
             CASE 0:13-cv-00847-PAM-JJG Doc. 1 Filed 04/10/13 Page 17 of 17


sight       on the   district     and appellate courtfs     rulings.   The   instant   remedy

sugge   s   ted is   to   have   Petitionerts overall sentence reviewed.

                                          CONCLUSION


            Based upon    the within and foregoing reasons, Petitioner respectfully
requests that his sentence be reversed and remanded for sentencing.                       A

secondary request f-s suggestl-ng           that Petltioner receive all        such    relief   he

is so entitled under the             scope and     rights held under Title    28 USC S 224I.




                                                          Respectfully Submitted,



                                                          fimmanuel Sanch?z   ; Petitioner




I"lailing informati-on :
Emmanuel Sanchez
Fed. Reg. lt 7 8456-27       9
Federal Prison Camp Duluth
P. O. Box 1000
Duluth, MN 55814




                                           - 10-
